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But Solely in His Capacity as Chapter 7 Interim Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

            CHAPTER 7 INTERIM TRUSTEE’S OBJECTION TO MOTION
         FOR LIMITED STAY PENDING APPEAL OF AUGUST 5, 2021 ORDER
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TO THE HONORABLE DAVID S. JONES,
UNITED STATES BANKRUPTCY JUDGE:

                Albert Togut, not individually but solely in his capacity as Chapter 7

Interim Trustee (the “Trustee”) of the estate of Kossoff PLLC (the “Debtor”), by his

counsel, Togut, Segal & Segal LLP, hereby submits this objection (the “Objection”) to

the Debtor’s Motion for Limited Stay Pending Appeal of the August 5, 2021 Order Holding the

Fifth Amendment Privilege Against Self-Incrimination Inapplicable to Debtor and Compelling

Mitchell Kossoff to Create Documents, to Appear for Examination at the Creditor Committee

Meeting, and to Produce Documents and Other Information [Docket No. 147] (the

“Motion”), filed by the Debtor and Mitchell H. Kossoff (“Kossoff” and together with the

Debtor, “Movants”), and respectfully states:

                                   PRELIMINARY STATEMENT1

                Since his appointment, the Trustee’s “very important work to help resolve

the affairs of the estate”2 has been continuously impeded by Kossoff’s improper

demands for a grant of immunity in exchange for his production of Debtor documents,

information, and cooperation. Kossoff’s attempts to avoid his obligations and to stall

the Trustee’s investigation have become predictably formulaic, consisting of arguments

supported by nothing more than sweeping and inapplicable generalizations concerning

Fifth Amendment privileges and factually inaccurate assertions concerning the nature

of the Debtor’s business structure and Kossoff’s role as its representative.

                On August 5, 2021, having previously designated Kossoff as a responsible

officer for the Debtor pursuant to Rule 9001(5) of the Federal Rules of Bankruptcy

1
    Capitalized terms used but not defined in the Preliminary Statement shall have the meanings given to
    them in subsequent sections of the Opposition.
2
    See June 24, 2021 Hr’g Tr. at 41:21-25.
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Procedure (the “Bankruptcy Rules”), the Court entered the Order to Compel, which

directed Kossoff to fulfill his obligations to cooperate with and produce information to

the Trustee, and in doing so, to act solely in his representative capacity. In reaching its

conclusions, the Court recognized several independent grounds to justify its sound

rulings, including, but not limited to, the “collective entity” doctrine and the “required

records” exception.

                On August 18, 2021, Movants sought leave to appeal the Order to

Compel.3 With the Motion, Movants now seek to stay the enforcement of the Order to

Compel pending the outcome of their appeal.

                The Motion is yet another ill-fated attempt to delay Kossoff’s compliance

with his court-ordered obligations and the Trustee’s investigation. Movants have not

and cannot establish any possibility of success on appeal: no new facts, law or error are

identified in the Motion. Indeed, the Motion is akin to an improper motion for

reconsideration.

                Moreover, on balance, the remaining factors to be considered in

connection with a stay pending appeal weigh heavily against granting the Motion:

                (i)     the Debtor’s estate (the “Estate”) and its stakeholders risk

                        substantial harm as a result of the requested relief;

                (ii)    Kossoff will not suffer any irreparable injury concerning any

                        Fifth Amendment privileges if the Order to Compel is

                        enforced because none are available to him when complying

                        with the Order to Compel;4


3
    The Trustee has filed and served an objection to Movants’ motion for leave to appeal. See Ex. “1”
    annexed hereto.
4
    Notably, as a collective entity, the Debtor has no Fifth Amendment protections at issue here.

                                                    2
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               (iii)    there is no public interest in fostering Kossoff’s refusal to

                        comply with a lawful order that will facilitate the Trustee’s

                        investigation concerning $17 million of client trust funds for

                        which Kossoff, an attorney, has failed to account; and

               (iv)     Kossoff has failed to propose posting any type of bond or

                        other undertaking, as required by Bankruptcy Rule 8007.

               Accordingly, the Trustee respectfully submits that the Motion should be

denied. However, to the extent that the Court is inclined to permit a stay pending

appeal, Kossoff should be required to comply with Bankruptcy Rule 8007 and to post a

bond in favor of the Trustee in the amount of not less than $17 million.

                                        BACKGROUND

I.     The Chapter 7 Case

               1.       On April 13, 2021 (the “Petition Date”), creditors of the Debtor

(collectively, the “Petitioning Creditors”) filed an involuntary petition for relief under

Chapter 7 of the Bankruptcy Code (the “Involuntary Petition”) in the United States

Bankruptcy Court for the Southern District of New York (the “Court”) against the

Debtor in the above-captioned case (the “Chapter 7 Case”).

               2.       Prior to the Petition Date, the Debtor operated as a law firm located

at 217 Broadway in New York City, New York, and serviced clients in the real estate

industry. See Docket No. 26-4 ¶ 10. The Debtor held itself out as providing full-service

real estate legal services specializing in litigation and transactional matters related to

areas of real property law, including leasing, sale and acquisition of real property

interests, commercial landlord tenant matters, real estate litigation, and city, state and

federal agency regulatory matters. See id.



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               3.       Contrary to the assertion in the Motion (and the inaccurate concept

of a unity of identity that Kossoff has repeatedly sought to convey), see Mot. at 1,

Kossoff was not the sole proprietor of the Debtor. Rather, the Debtor was a professional

limited liability company, organized under the laws of New York, and Kossoff was its

sole managing member. See Docket No. 116, Ex. 3 (Articles of Organization and

Operating Agreement); see also Docket No. 30; Docket No. 30-1.

               4.       The Petitioning Creditors are clients of the Debtor and together

assert claims for “Unreturned IOLA Funds” and “Misappropriated IOLA Funds”

totaling approximately $8 million [Docket No. 1]. Other former clients have also

asserted similar claims against the Debtor, such that known claims for missing escrow

funds total approximately $17 million.

               5.       The Debtor did not appear in response to the Involuntary Petition,

and on May 11, 2021, this Court entered the Order for Relief and Order to File Schedules

and Other Documents [Docket No. 14] (the “Order for Relief”).

               6.       The Order for Relief directs the Debtor to file “all schedules,

statements, lists and other documents that are required under the Federal and Local

Rules of Bankruptcy Procedure” (the “Schedules”) no later than May 25, 2021. See

Docket No. 14.

               7.       On May 12, 2021, Mr. Togut was appointed as the Chapter 7

Interim Trustee of the Debtor, accepted his appointment, and duly qualified.

               8.       The Debtor has not yet filed any of the Schedules.

II.    The Trustee’s Attempts to Obtain Discovery from Kossoff

               9.       The Trustee has sought Kossoff’s assistance in collecting the

Debtor’s documents and information, which is needed for the Trustee’s investigation of

the Debtor’s affairs. Among other things, the Trustee has requested that Kossoff

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produce categories of the Debtor’s documents and information (the “Requested

Information”), including:

                        a. List of the Debtor’s bank accounts with account numbers;

                        b. Bank records;

                        c. Cash receipts journals;

                        d. Cash disbursements journals;

                        e. Credit card records;

                        f. Client lists;

                        g. List of accounts receivable and amounts;

                        h. Records required pursuant to N.Y. Code of Professional
                           Responsibility Rule 1.15 (22 N.Y.C.R.R. § 1200.0,
                           including records of all deposits and withdrawals from
                           accounts specified in subsection (b);

                        i. Inventories of seized records provided by law
                           enforcement;

                        j.   All of these documents and information are required by
                             the Order for Relief and Bankruptcy Rule 1007; and

                        k. Other documents as requested by the Trustee.

                10.     Kossoff has repeatedly told the Bankruptcy Court and the Trustee

that he is unwilling to identify or produce documents to the Trustee and that he will

assert a privilege against self-incrimination under the Fifth Amendment unless the

Bankruptcy Court grants him broad immunity because he is being investigated by the

Manhattan District Attorney (the “DA”).5 Indeed, in response to the Trustee’s requests,

Kossoff has consistently asserted a blanket Fifth Amendment privilege. See, e.g., Docket

No. 30.


5
    Kossoff has recently advised that an investigation by the United States Attorney for the Eastern
    District of New York has been terminated.


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III.   The Trustee’s Rule 2004 Motion and Related Orders

               11.   On May 24, 2021, the Trustee filed the Chapter 7 Interim Trustee’s Ex

Parte Application for an Order (I) Directing the Preservation of Documents and Recorded

Information and (II) Authorizing the Issuance of Subpoenas for the Production of Documents

and Depositions Testimony Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure [Docket No. 26] (the “Rule 2004 Motion”).

               12.   Also on May 24, 2021, the Court entered the Order Authorizing

Trustee to Issue Subpoenas and Obtain Testimony and for Injunctive Relief [Docket No. 27]

(the “Initial Rule 2004 Order”).

               13.   On May 26, 2021, counsel for the Debtor, Kossoff, and Kossoff’s

affiliated entity Tenantracers, LLC filed an opposition to the Rule 2004 Motion,

asserting that “Mr. Kossoff intends to invoke his Fifth Amendment privilege against

self-incrimination and will refuse to answer questions that may tend to incriminate

him.” See Docket No. 30 p. 2. He also asserted that “Mr. Kossoff alone would be the

only person to properly identify, collect, describe and submit documents to the

Bankruptcy Court or its Trustee. Id. at p. 3.

               14.   Pursuant to the Initial Rule 2004 Order, this Court conducted a

preliminary injunction hearing on May 27, 2021.

               15.   On June 4, 2021, Walter Mack, Kossoff’s counsel, filed the Objection

to Preliminary Injunction Order and Trustee Issuance of Subpoenas for Testimony and

Documents [Docket No. 48].

               16.   Pursuant to the Order Scheduling Final Hearing to Consider Injunctive

Relief [Docket No. 33], the Court held a final hearing to consider the injunctive relief




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sought by the Trustee on June 10, 2021. Later that day, the Court entered the Final Order

Granting Injunctive Relief [Docket No. 62].6

IV.       The Designation Order and Related Filings

                  17.      On May 28, 2021, the Trustee filed the Application for an Order (A)

Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor and (B) Compelling

Him to (1) Produce Information Requested by the Chapter 7 Trustee; (2) Appear for

Examinations Under Oath at the Bankruptcy Code Section 341 Meeting of Creditors; and (3)

Otherwise Cooperate with the Chapter 7 Trustee [Docket No. 36] (the “Designation

Motion”). The Designation Motion sought, among other things, an order directing

Kossoff to produce Debtor documents and information, including the Requested

Information.

                  18.      On June 16, 2021, Kossoff filed the Objection to Bankruptcy Trustee’s

Application for an Order (A) Designating Mitchell H. Kossoff as the Responsible Officer of the

Debtor and (B) Compelling Him to (1) Produce Information Requested by the Chapter 7 Trustee;

(2) Appear for Examination Under Oath at the Bankruptcy Code Section 341 Meeting of

Creditors; and (3) Otherwise Cooperate with the Chapter 7 Trustee and Motion to Quash All

Subpoenas Compelling Testimony or Document Production from Him, His Fiduciaries or His

Defense Team [Docket No. 80] and the memorandum of law in support of thereof

[Docket No. 80-1].

                  19.      On June 22, 2021, the Trustee filed the Chapter 7 Trustee’s Reply to

Objection to Bankruptcy Trustee’s Application for an Order (A) Designating Mitchell H.

Kossoff as the Responsible Officer of the Debtor and (B) Compelling Him to (1) Produce

6
      The Trustee also filed a second motion based upon Bankruptcy Rule 2004; specifically, on June 18,
      2021, the Trustee filed the Chapter 7 Interim Trustee’s Application for Entry of an Order Enforcing
      Automatic Stay and Directing Mitchell H. Kossoff and Tenantracers, LLC to Provide the Trustee with Access
      to the Fifth Floor Premises to Inspect and Take Possession of Property of the Estate [Docket No. 85] (the
      “Access Motion”). On July 12, 2021, the Court granted the Access Motion [Docket No. 117].

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Information Requested by Chapter 7 Trustee; (2) Appear for Examination Under Oath at the

Bankruptcy Code 341 Meeting of Creditors; and (3) Otherwise Cooperate with the Chapter 7

Trustee and Motion to Quash All Subpoenas Compelling Testimony and Document Production

from Him, His Fiduciaries or His Defense Team [Docket No. 89].

               20.    A hearing was conducted by the Court on June 24, 2021 to consider

the Designation Motion and the pleadings filed in connection with it (the “June 24

Hearing”). See Docket No. 86.

               21.    During the June 24 Hearing, the Court observed “that blanket

assertions are insufficient and that the party asserting the privilege needs to explain at

least in circumstances where the applicability of the asserting the privilege isn’t self-

evident why it applies.” June 24, 2021 Hr’g Tr. at 8:18-21; see also id. at 23:15-23 (“…I do

take the view and agree with the trustee that – and the law that a blanket invocation of

the privilege is insufficient. . . . [T]he Court has to assess the implications of particular

questions when asked and assess whether there is an evidence risk of incrimination

posed by the inquiry. And if not, the Court has the duty of inquiry to determine

whether or not there is such a reasonable risk presented.”). The Court also observed

that the Trustee is trying to do “very important work to try to help resolve the affairs of

the estate.” Id. at 41:21-25.

               22.    On June 25, 2021, the Court entered the Order Designating Mitchell

H. Kossoff as the Responsible Officer of the Debtor [Docket No. 93] (the “Designation

Order”), which provides that “Kossoff is designated as the person responsible for

performing the Debtor’s duties in this case . . . .”

               23.    The Designation Order is now final, having never been challenged

after entry.



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               24.   The Designation Order provides, among other things, that counsel

for the Trustee and Kossoff would promptly meet and confer in good faith concerning

Kossoff’s duties and the identity of the documents Kossoff will produce to the Trustee,

including the Requested Information and any and all copies and/or electronic back-up

materials of them, and describe which items he will not produce to the Trustee. See

Docket No. 93.

               25.   The Designation Order further provides that “if Kossoff takes the

view that identifying documents he possesses would violate his Fifth Amendment right

of self-incrimination, Kossoff shall so state, with as specific reference as possible

consistent with his Fifth Amendment privilege concern to the records or types of

records at issue.” Id.

               26.   On June 25, 2021 and June 30, 2021, counsel for the Trustee and

Kossoff met and conferred regarding Kossoff’s duties and the identity of documents

that Kossoff would be willing to produce to the Trustee. See Docket No. 93.

               27.   On July 1, 2021, the Trustee filed the Notice of Filing of Meet and

Confer Status Report Pursuant to June 25, 2021 Order [Docket No. 105] (the “Status

Report”).

               28.   As set forth in the Status Report, Kossoff’s counsel produced three

categories of Requested Information to the Trustee: (1) a list of the Debtor’s bank

accounts with account numbers, though certain numbers appear to be incomplete;

(2) inventories of records seized by law enforcement (which were prepared by law

enforcement); and (3) certain organizational documents of the Debtor, including the

Debtor’s articles of organization as filed with the New York Secretary of State and its




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operating agreement.7 See Docket No. 105. In addition, Kossoff has agreed to allow the

Trustee access to the offices located on the fifth floor of the Premises in order to collect

responsive documentation. See id.

                 29.     However, Kossoff has refused to produce any of the current,

relevant Debtor’s bank records, cash receipt journals, credit card records, and records

that are required to be maintained by law firms pursuant to N.Y. Code of Professional

Responsibility D.R. 9-1028 (collectively, the “Additional Disputed Records”). See id.9

Without conceding the existence or possession, custody, or control of the Additional

Disputed Records, Kossoff refused to produce such documents absent an adjudication

by the Bankruptcy Court.

                 30.     Kossoff has also declined to prepare the Schedules, or to produce a

list of accounts receivable, absent assurances from the Trustee that doing so would not

constitute a violation of Kossoff’s Fifth Amendment privilege. See id.10 Kossoff has

taken this untenable position even though the Debtor issued invoices to its clients

during the months immediately preceding the Petition Date.




7
     Counsel has also indicated that he will be willing to provide the Debtor’s and Kossoff’s tax returns to
     the extent that they have not been produced to the Trustee by third-parties, but he has not yet done
     so. See id.

8
     See also N.Y. Code of Professional Responsibility Rule 1.15 (22 N.Y.C.R.R. § 1200.0).
9
     On July 15, 2021, Kossoff’s counsel permitted the Trustee’s accountants to remove limited documents
     from the Fifth Floor Premises, as required by the Court’s order granting the Access Motion.
      However, with the possible exception of certain Debtor payable invoices and paid accounts
     receivable invoices, all that was made available were dated documents, none of which appear to be
     useful in determining what happened to the nearly $17 million of funds sought by creditors of the
     Debtor. It would be imprudent to conclude that this was anything other than a calculated effort
     to masquerade the production of dated materials as compliance with Kossoff’s duties.
10
     While Kossoff has advised that no comprehensive client list is within his possession, custody, or
     control, he has declined to attempt to construct such a list based on his recollection or available
     documentation absent the assurances described here. See id.


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V.     The Order to Compel

               31.   On July 22, 2021, the Bankruptcy Court conducted a hearing to

consider Kossoff’s obligations (the “July 22 Hearing”). A true and correct copy of an

excerpt of the transcript of the July 22 Hearing is attached hereto as Exhibit “2.”

               32.   On August 5, 2021, the Bankruptcy Court entered the Order

Compelling Mitchell H. Kossoff to (1) Produce Information and Documents Required by the

Chapter 7 Trustee; (2) Appear for Examination at Section 341 Meetings of Creditors; and (3)

Otherwise Cooperate with the Chapter 7 Trustee [Docket No. 137] (the “Order to Compel”).

Among other things, the Order to Compel provides that “the collective entity doctrine

overrides and renders inapplicable privileges, including the Fifth Amendment privilege

against self-incrimination and the act of production privilege, for acts of production

compelled to be performed by Kossoff who, by reason of the Designation Order, is

acting not in his individual capacity but in his representative capacity on behalf of the

Debtor.”

               33.   The Order to Compel further directs Kossoff to:

                     a. “[N]ot individually, but in his representative capacity of

                         the Debtor, . . . take all steps necessary to perform the

                         Debtor’s duties pursuant to the Order for Relief and the

                         Designation Order, including the preparation of the

                         Debtor’s Schedules…;”

                     b. “[F]or the reasons set forth on the record of the July 22

                         Hearing, not individually but in his representative

                         capacity as the Court-appointed responsible officer of the

                         Debtor . . . take all steps necessary to obtain all of the

                         Requested Information and the Additional Disputed

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                        Records including but not limited to the known creditors

                        of the Debtor, current and former clients of the Debtor,

                        internal bank receipts and disbursements records, and

                        accounts receivable records of the Debtor, and all IOLA

                        records required to be maintained by the Debtor, in his

                        possession, custody or control, and to produce them

                        and/or cause them to be produced to the Trustee…;”

                     c. “[F]or the reasons set forth on the record at the July 22

                        Hearing, . . . appear for examination under oath not

                        individually but in his representative capacity on behalf

                        of the Debtor at the Section 341 Meeting in this case and

                        at any adjourned dates of such meeting…;” and

                     d. “[F]or the reasons set forth on the record at the July 22

                        Hearing, Kossoff, not individually but in his

                        representative capacity, is directed to otherwise fully

                        cooperate with the Trustee on behalf of the Debtor in

                        accordance with Bankruptcy Code section 521…”

VI.   The Appeal

               34.   On August 18, 2021, the Appellants filed a notice of appeal [Docket

No. 144), seeking to commence an appeal the Order to Compel (the “Appeal”).

               35.   Also on August 18, 2021, the Appellants filed the Motion for Leave to

Appeal [Docket No. 145] in the Bankruptcy Court, in which both the Debtor and Kossoff

sought leave to appeal the Order to Compel.

               36.   The Motion was docketed on the District Court’s docket on August

24, 2021 [S.D.N.Y. Docket No. 3].

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                                       OBJECTION

       37.     A stay pending appeal is recognized as “extraordinary relief,” In re DJK

Residential, LLC, No. 08-10375, 2008 WL 650389, at *5 (S.D.N.Y. Mar. 7, 2008), and is

“only granted in limited circumstances.” In re Smith, 2009 WL 366577, at *2 (E.D.N.Y.

Feb. 12, 2009) (citation omitted).

       38.     For the reasons set forth herein, Movants have not and cannot

demonstrate grounds for a stay pending the appeal of the Order to Compel. Any stay

should be conditioned on Kossoff posting a bond in favor of the Trustee of not less than

$17 million to protect the Debtor’s stakeholders who would be harmed by the stay

requested in the Motion.

I.     Movants Have Not Demonstrated an Entitlement to the Requested Relief

               39.   In the context of a stay pending appeal, the “burden on the movant

is a heavy one.” DJK Residential, 2008 WL 650389, at *2. This heavy burden is satisfied

only if the movant satisfies the following four factors (the “Factors”): (1) the movant

has a substantial possibility of success on the merits of the appeal; (2) a stay would

inflict no substantial injury on any other party; (3) it would suffer irreparable injury if a

stay is denied; and (4) the public interest favors a stay. See In re Calpine Corp., No. 05-

60200, 2008 WL 207841, at *4 (Bankr. S.D.N.Y. Jan. 24, 2008); In re WestPoint Stevens, Inc.,

No. 06-Civ-4128, 2007 WL 1346616, at *4 (S.D.N.Y. May 9, 2007). Whether Movants are

entitled to the relief they seek depends upon a balancing of these four factors. See In re

Adelphia Communications Corp., 361 B.R. 337, 347 (Bankr. S.D.N.Y. 2007).

               40.   In addition to those burdens, a party seeking a stay pending appeal

must post a bond to protect persons who may suffer damages as a result of such stay.

See Fed. R. Bankr. P. 8007(a)(1)(B).



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               41.      As demonstrated below, the Motion satisfies none of the four

Factors. Quite the contrary: all of the Factors weigh heavily against granting the stay

sought by the Motion.

       A.      Movants Have Little Chance of Success on Appeal

               42.      The Motion should be denied because Movants cannot demonstrate

any substantial possibility of success. Indeed, the single most important factor for

procuring a stay pending appeal or injunctive relief under Bankruptcy Rule 9005 is the

likelihood of success on the merits. See In re Baker, No. 05-Civ-3487, 2005 WL 2105802, at

*3 (E.D.N.Y. Aug. 31, 2005) (citation omitted).

               1.       The Debtor Lacks Standing to Appeal

               43.      As an initial matter, the Debtor lacks standing to appeal for at least

two reasons. As a result, no appeal by the Debtor would be successful.

               44.      First, once a Chapter 7 trustee is appointed, a corporate debtor no

longer authorized to bring an appeal. See, e.g., In re C.W. Mining Co., 636 F.3d 1257, 1265

(10th Cir. 2011) (“[f]ollowing the appointment of a trustee in a corporate Chapter 7

bankruptcy, the corporation’s former managers are not authorized to bring the

corporation’s appeal—even if that appeal contests of the very initiation of the

bankruptcy itself”); South Edge LLC v. JPMorgan Chase Bank, N.A., Nos. 2:11-CV-00240-

PMP-RJJ, 2:11-CV-00301-PMP0RJJ, 2011 WL 1626567 (D. Nev. Apr. 28, 2011) (limited

liability corporation debtors lack standing to file a notice of appeal after a trustee is

appointed).

               45.      The rule that “‘only the bankruptcy trustee may appeal an order

from a bankruptcy court’ was created ‘as a means to control, in an orderly manner,

proceedings’” in a Chapter 7 case. In re C.W. Mining Co., 636 F. 3rd at 1262 (citing In re

Westwood Cmty. Two Ass’n, Inc., 293 F.3d 1332, 1334 (11th Cir. 2002)); see also Log

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Furniture, Inc. v. Call, 180 Fed. Appx. 785, 787-88 (10th Cir. 2006) (“The only person with

standing or legal capacity to represent [Debtor] in any litigation, including these

appeals, is its Trustee.”).

                 46.      Second, the Debtor was not aggrieved by the Order to Compel. To

have standing to appeal a bankruptcy court order, a party must be “a party aggrieved”

by that order. See, e.g., Travelers Ins. Co. v. H.K. Porter Co., 45 F.3d 737, 741 (3d Cir. 1995);

Int’l Trade Admin. v. Rensselaer Polytechnic Inst., 936 F.2d 744, 747 (2d Cir. 1991). “This

person aggrieved requirement is more exacting than the requirements for a general

Article III standing.” In re American Dev. Int’l Corp., 188 B.R. 925, 932 (N.D. Tex. 1995)

(quotation omitted). “Generally, only persons who are ‘directly and adversely affected

pecuniarily by an order of the bankruptcy court have been held to have standing to

appeal that order.” Id. (citation and internal quotation marks omitted). Courts are

guided by two factors: (1) whether the appellant is a “party-in-interest” as defined in 11

U.S.C. § 1109(b); and (2) does the appellant possess a pecuniary interest. See In re Salant

Corp., 176 B.R. 131, 135 (S.D.N.Y. 1994) (citation omitted).

                 47.      Here, the Debtor does not have standing to appeal the Order to

Compel under this standard. The Order to Compel plainly addresses only Kossoff’s

obligations in his representative capacity on behalf of the Debtor. Consequently, the

Debtor is not aggrieved because Debtor’s property is not diminished, its burdens are

not increased11, and its rights are not impaired. See Travelers Ins. Co., 45 F.3d at 742.

                 2.       Movants Will Not Prevail in an Appeal of the Order to Compel

                 48.      Even if the Debtor had standing to appeal the Order to Compel,

which it does not for the reasons cited above, Movants’ arguments lack merit. Based on


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     All of the obligations contained in the Order to Compel are statutorily mandated. See 11 U.S.C. § 521.


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the record of proceedings in this Court, there is no reasonable basis to conclude that

Movants will prevail in the appeal of the Order to Compel, which granted relief that

built upon the previously-entered Designation Order.

               49.   In fact, the Movants appear to concede that their real concern is not

with the relief granted in the Order to Compel, but rather with the factual findings

underlying the Designation Order. However, Movants did not appeal the Designation

Order, which is now final and non-appealable. See Fed. R. Bankr. P. 8002. This failure

is fatal to the arguments contained in the Motion.

               50.   Indeed, the Motion is nothing more than a re-argument of the

factually and legally incorrect arguments that Movants previously asserted in

opposition to entry of the Designation Order. Moreover, Movants fail to identify any

factual or legal error committed by the Court in entering the Designation Order and the

Order to Compel. Indeed, the house of cards supporting Movants’ request for a stay

fails because the Designation Order is final. Kossoff has been directed to act in a

representative capacity only, and in that capacity, no Fifth Amendment privilege is

available. Therefore, no Fifth Amendment privilege will be waived by Kossoff’s

compliance with the Order to Compel.

               51.   Moreover, nothing in the Motion casts doubt upon this Court’s

findings. Instead, the Motion: provides easily distinguishable case law;

mischaracterized facts; and makes sweeping and in applicable generalizations about

the Fifth Amendment.

               52.   Contrary to Movants’ assertion, there is no real possibility of

success of the Appeal of the Court’s finding that the “collective entity” doctrine applied

to the professional limited liability company. See Mot. at ¶ 21. Significantly, Movants

also fail to acknowledge that Kossoff is the designated representative of the Debtor

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pursuant to the final Designation Order. Movants fail to address a single case cited by

the Court in support of its holding that rejected Movants’ assertion that there is no

meaningful differentiation between Kossoff’s own acts and those of the Debtor was

incorrect as a matter of law. See July 22, 2021 Hr’g Tr. at 47:10-48:11 (citing, among

other cases Lattanzio v. COMTA, 481 F.3d 137, 140 (2d Cir. 2007) and Battino v. Cornelia

Fifth Avenue, LLC, 861 F. Supp. 2d 392, 408 (S.D.N.Y. 2021)). Instead, Movants cite only

one case, where the owner of sole proprietorship invoked the Fifth Amendment to

avoid producing subpoenaed records. See Mot. at ¶ 21 (citing United States v. Doe, 465

U.S. 605, 612-14 (1984)); see also United States v. Doe, 465 U.S. 605, 612-14 (1984) (finding

that owner of sole proprietorship could assert the act of production privilege to avoid

producing materials in response to subpoena). However, Movants’ attempts to marshal

facts to liken the Debtor to a sole proprietorship fail. The Motion completely ignores

the fact that New York state law permits a limited liability company to have a sole

member, and that this fact alone cannot transform a registered PLLC into a different

corporate form upon the whim of the principal. See Lattanzio, 481 F.3d at 140 (“Unlike a

sole proprietorship, a sole member limited liability company is a distinct legal entity

that is separate from its owner.”); see also Battino, 861 F. Supp. 2d at 408 (“It is black

letter law that a limited liability company exists as a separate entity from its members.”)

(citation omitted).

               53.    The Motion further argues, without citation support, that Kossoff

does not have access to necessary material and information to comply with the Order to

Compel. See Mot. at ¶ 23. This argument, too, is unlikely to succeed on appeal. This

assertion contradicts Kossoff’s own prior assertions that he would produce responsive

documents for review in camera (a point that Movants press on appeal). Moreover, this

Court observed that Kossoff can direct the Debtor’s accountants and other

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representatives to supply him with the documents and information needed to comply

with the Order to Compel, but he has chosen not to do that.

               54.   Nor will Movants succeed on appeal based upon Kossoff’s half-

hearted and unsupported assertions concerning his employment status. In re Three

Grand Jury Subpoenas Duces Tecum Dated Jan. 29, 1999, 191 F.3d 173 (2d Cir. 1999) is

distinguishable because it involved former employees who had actually resigned from

the corporation or had their employment terminated prior to the issuance of the

relevant subpoenas. See id. at 174-75. Here, Kossoff is the managing member of the

Debtor, a law firm that is dissolving. Accordingly, the situation here is more akin to

Bellis v. United States, 417 U.S. 85, 96 n.3 (1974), where the Supreme Court found that a

former managing partner of a dissolved law firm could not assert privilege over

partnership records still in his possession during grand jury proceeding. See also June

24, 2021 Hr’g Tr. at 9:1-12.

               55.   Finally, the Motion asserts that Kossoff’s completion of schedules

will be deemed testimonial and therefore render him unable to assert Fifth Amendment

privileges. See Mot. at ¶ 25. Here, too, Movants have little possibility of success on

appeal. Movants’ argument conflates the waiver of the Fifth Amendment privilege

with situations like the one here where the Fifth Amendment simply does not apply.

Indeed, the position does not even find support in the cases identified in the Motion. In

re Jacques, 115 B.R. 272 (Bankr. Nev. 1990), cited in the Motion, does not provide support

for the proposition that Kossoff risks waiving his Fifth Amendment privilege by

preparing schedules in his representative capacity. Instead, the Jacques court held that

because the individual debtor was entitled to invoke the Fifth Amendment at a section

341 meeting, he should not be held in contempt for refusing to answer questions and he

could also assert the Fifth Amendment regarding questions concerning the financial

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statements and schedules that are required to be submitted under the Bankruptcy Code.

Jacques, 115 B.R. at 273. Movants’ reliance on In re Brandenburg, No. 06-30709, 2007 WL

117391 (Bankr. E.D. Tenn. Jan. 10, 2007) is also misplaced, as it similarly involved an

individual debtor. The only case cited in the Motion on this topic that addressed a non-

individual debtor was In re Wright, 220 B.R. 543 (S.D.N.Y. 1998). However, the Wright

language cited by Movants simply means that a debtor may assert his Fifth Amendment

rights in a bankruptcy proceeding to the extent such privileges apply. See id. at 544.

Kossoff has no Fifth Amendment privilege while acting in his representative capacity

pursuant to the Designation Order, as required by the Order to Compel. Given the

procedural posture of the matter presented, the Wright court could constitute a waiver

of Fifth Amendment rights. Ultimately, the Wright court dismissed the debtor’s appeal

on the ground that it lacked jurisdiction to determine what was essentially a request for

an advisory opinion, but before doing so, the Wright court observed that there is a

presumption against finding in favor of Fifth Amendment rights on the basis of prior

testimony. See id.12

                56.     In sum, Movants have failed to make a strong showing that they

would succeed in appealing the Order to Compel.

        B.      The Trustee and Other Stakeholders Would
                be Substantially Harmed by a Stay

                57.     Kossoff’s attempts to avoid his obligations have already caused the

estate, and thereby the Debtor’s stakeholders, significant time, costs and resources.

Further delay caused by any stay also increases the risk that the Trustee will not be able

to recover funds that were improperly transferred from the Debtor’s accounts.


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     The Wright court also observed that the debtor was “seeking immunity under the guise of a
     protective order.” Id.


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               58.   The Trustee cannot conduct a meaningful investigation without the

requested materials. While the Trustee has issued numerous subpoenas to third-

parties, third-party document production will likely provide, at best, an incomplete and

disjointed picture of the Debtor’s affairs. To date, the DA has resisted the Trustee’s

attempts to obtain copies of documents that it seized from the Debtor’s premises.

               59.   Without Kossoff’s assistance and compliance with the Order to

Compel, the Trustee cannot even be confident that he has a complete list of all of the

Debtor’s bank accounts. Without that information, the Trustee cannot determine where

all of the $17 million of missing funds was held, where it came from, or where it was

transferred. This includes transfers within the different bank accounts that the Debtor

and/or Kossoff maintained at various times. This missing information also impedes the

Trustee’s efforts to identify subsequent transferees from whom recoveries may be

sought. And while Kossoff seeks to obtain further unwarranted delays, statutes of

limitation may be expiring and creditor rights are being prejudiced.

               60.   The Trustee can try to obtain every piece of bank account

information that may be in the possession of third parties, yet he still needs the Debtor’s

internal accounting records (e.g., the Debtor’s general ledger and QuickBooks files) to

reconcile and understand the significance of that banking activity. The Debtor’s IOLA

account statements, for instance, show numerous incoming and outgoing transfers.

However, without the Debtor’s internal record keeping of those IOLA accounts, the

Trustee will not be able to determine the source of deposits and disbursements, or the

purpose of each transaction, because the account statements do not provide that

information, for thousands of entries concerning transactions involving tens of millions

of dollars. The following examples, among many others, prove this point:



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                     •   The January 30, 2021 – February 26, 2021 account
                         statement for the Debtor’s JPMorgan Chase IOLA
                         account, alone, lists dozens of deposits and additions
                         totaling $2,218,219.20 and “electronic withdrawals” of
                         $2,027,134.90, but does not contain any notations that
                         would help the Trustee understand the purpose of the
                         listed transactions, the identity of transferees of
                         significant transfers, or whether the transactions were
                         legitimate. See Ex. “3.” The Requested Materials,
                         including the Debtor’s internal accountings, are needed
                         to analyze these transactions.
                     •   On September 24 and 25, 2020, the Debtor’s IOLA
                         account discloses a total payment of $500,000 (in two
                         $250,000 payments) to law firm Nesenoff & Miltenberg,
                         LLP. The references for both payments listed “302
                         Canal.” During the relevant period, the total payments
                         made into the IOLA account by 302 Canal and two
                         individuals associated with 302 Canal, Jason Breitstone
                         and David Shorenstein, total $322,501, significantly less
                         than the total amount transferred to the Nesenoff firm. It
                         is unclear why these transfers do not reconcile, whether
                         there were additional payments made into the IOLA
                         account that do not have a clear connection to these
                         transactions, or whether the Debtor used funds that
                         belonged to others to fund these transactions. See Ex. “4”
                         at 2, 3, 6, 10, 15, 16.
                     •   An April 2021 statement for the Debtor’s Signature Bank
                         IOLA and “Monogram Checking” accounts list dozens of
                         transactions, many of which contain little or no detail.
                         For example, there are dozens of deposits and payments
                         listed that total more than $1 million with no detail other
                         than check/wire numbers and random names – no
                         purpose described, no recipient mentioned. There are
                         numerous transactions simply listed as “Mobile
                         Deposit.” And there is also a “Misc Debit” of $47,725.83
                         on April 9, 2021. It is impossible to discern from these
                         statements anything substantive concerning these
                         transactions, or the dozens more that are listed, except
                         that both the IOLA Account and checking account were
                         emptied as of April 30, 2021. See Ex. “5” at 2, 5, 6, 7.
               61.   For the same reasons described above, the Trustee needs the

Debtor’s internal disbursement journals to identify: (i) the purpose of the cash receipts

and disbursements; (ii) how they may be linked to receipts and/or other

disbursements; (iii) the parties to those transactions; (iv) the obligations that were fully

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or partially satisfied; and (v) whether property or interests in property were acquired,

and by whom. All of these internal accountings are required to be maintained by law

firms in New York pursuant to Rule 1.15 of the New York State Rules of Professional

Conduct. See 22 N.Y.C.R.R. § 1200.0.

               62.   The Trustee likewise cannot determine whether certain of the

Debtor’s transactions are avoidable under the Bankruptcy Code (e.g., as fraudulent

transfers) without the Debtor’s internal accounting records. Identifying transferees and

subsequent transferees through the Debtor’s accounting records also would enable the

Trustee to identify whether certain persons or entities are holding property/funds that

constitute property of the Estate that should be turned over to the Trustee. Those

funds, if any, may be subject to claims of the transferee’s own creditors – putting at risk

the Trustee’s ability to recover such funds.

               63.   Moreover, without a complete, current client list from the Debtor,

the Trustee cannot determine the full extent of the alleged misappropriation of funds or

the corresponding scope of potential damages incurred by the Debtor’s clients and

creditors. For example, the client list provided by Mack fails to provide any client

contact information and is dated as of May 5, 2020, more than a year prior to the

Bankruptcy Court’s appointment of the Trustee. See Ex. “6.”

               64.   Similarly, the Trustee needs the Debtor’s internal accounts

receivable reconciliations to enable him to send comprehensive and current payment

demand letters.

               65.   The Trustee needs the requested materials now. Determining

creditor recoveries is dependent on the Trustee’s ability to conduct a forensic

investigation “as expeditiously as is compatible with the best interests of parties in

interest.” 11 U.S.C. § 704(a)(1). Without reliable internal records – i.e., the Requested

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Materials – the Trustee cannot do this quickly or efficiently. The work is harder, takes

much longer, and is much more expensive, all to the detriment of the Debtor’s

creditors/victims. Indeed, because the Trustee has not yet obtained access to the

Debtor’s internal accounting records, the Trustee and his professionals have spent

numerous hours during the past months trying, without success, to reconcile the

Debtor’s years of unexplained and suspect financial activity. Those efforts have been

exponentially more expensive than if the Trustee had been given immediate access to

the Requested Materials. Continued delay in access to this information will increase

such costs to an already cash poor Estate, all to the detriment of the Debtor’s creditors.

               66.     Accordingly, contrary to the suggestions contained in the Motion,

the Estate and its stakeholders face meaningful and significant harm if the requested

relief is granted.

       C.      Movants’ Showing of Irreparable Harm
               Is Not Adequate to Justify the Requested Relief

               67.     A showing of irreparable harm is a “principal prerequisite for the

issuance” of a stay under Bankruptcy Rule 8005. Calpine, 2008 WL 207841, at *4

(citation omitted). To constitute irreparable harm, the alleged injury must be “neither

remote nor speculative, actual and imminent.” Id. at *4. Moreover, the existence of

irreparable harm is not dispositive where there is no substantial possibility of success

on the merits. See In re General Motors Corp., 409 B.R. 24, 30 (Bankr. S.D.N.Y. 2009) (“I’ll

assume, without deciding, that the balancing approach is the more appropriate, but also

note that it doesn’t matter here, since the last three factors-likelihood of success,

prejudice to those opposing the stay, and the public interest-so overwhelmingly compel

denying the stay.”).




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                68.     Movants assert that they would be irreparably harmed if the Order

to Compel was enforced, because Fifth Amendment rights would be forever waived.

To be clear, the only Fifth Amendment rights even arguably at issue are those of Kossoff

because the Debtor is not a natural person and it does not have any ability to assert Fifth

Amendment privileges. In any event, as set forth above, such a harm is not sufficient to

satisfy Movants’ burden in light of the low possibility of success on the merits and the

harm facing other parties if the Court granted the stay. See, e.g., In re Grand Jury

Proceedings (The John Doe Co., Inc.), 838 F.2d 624, 625 (1st Cir. 1988) (finding that the Fifth

Amendment does not permit an individual to “avoid producing records of a collective

entity, held by him in a representative capacity, even if those records would tend to

incriminate him”).

                69.     For these reasons, Movants have failed to satisfy the burden for

showing an entitlement to the requested relief notwithstanding the potential harm

alleged in the Motion.13

        D.      The Public Interest Is Advanced By Enforcing the Order to Compel

                70.     Finally, Movants have not shown that the public interest favors a

stay. Rather, considerations of public interest weigh against a stay.

                71.     The Trustee respectfully submits that no public interest is advanced

by enabling an attorney to unjustifiably defy Court orders and to withhold information

concerning millions of dollars missing from a law firm trust account.

                72.     The public interest “cannot tolerate any scenario under which

private agendas can thwart the maximization of value.” Calpine, 2008 WL 207841, at *7.

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     Indeed, Movants have not challenged the Court’s findings concerning the “required records”
     doctrine. For that reason, even if Movants were successful on their appeal, this unchallenged
     grounds of support for the Order to Compel would remain and Movants would be in the same
     situation they would be in if the Order to Compel were not stayed.


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This fundamental principle strongly weighs in favor of denial of Movants’ requested

relief, particularly because Kossoff proposes to place the estate at risk without a bond.

               73.   Similarly, courts have identified strong public interests in the swift

and efficient resolution of bankruptcy proceedings, and in protecting the “finality of

decisions, especially in a bankruptcy proceeding.” In re Savage & Assocs., P.C., 2005 WL

488643, at *2 (S.D.N.Y. Feb. 28, 2005) (“[P]ublic interest favors the expedient

administration of the bankruptcy proceedings.”); In re Metiom, Inc., 318 B.R. 263, 272

(S.D.N.Y. 2004) (“The Court finds that the public interest in the expeditious

administration of claims lacking a substantial possibility of success, outweighs the

public interest in resolving issues presented here on appeal.”); Calpine, 2008 WL 207841,

at *6 (collecting cases); DJK Residential, 2008 WL 650389, at *4. Both of these interests

are served by the denial of the Motion and by authorizing the Trustee to move forward

with his investigation and administration of the estate. Denying a stay would thus

promote respect for the courts and fair administration of justice.

               74.   Accordingly, the Trustee respectfully submits that the Motion

should be denied.

II.    Even if Movants Could Justify a Stay, a Bond Would be Required

               75.   Even if the Court were to find that Movants have satisfied all of the

requirements justifying injunctive relief, which they have not, such relief cannot be

granted unless Kossoff posts a bond to protect the Estate from the damages that might

be caused by the delay resulting from the requested relief.

               76.   Absent “exceptional circumstances,” the appealing party must post

a bond “at or near the full amount of the potential harm to the non-moving parties.”

Adelphia, 361 B.R. at 351. Indeed, the bond requirement may not be eliminated or

reduced unless doing so “does not unduly endanger the [prevailing party’s] interest.”

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de la Fuente v. DCI Telecom., Inc., 269 F. Supp. 2d 237, 240 (S.D.N.Y. 2003) (citations

omitted). Movants have failed to satisfy, let alone address, their heavy burden of

providing concrete evidence why the Court should depart from the standard

requirement of granting injunctive relief pending appeal only after the posting of a

sufficient bond. Calpine, 2008 WL 207841, at *7; see also WestPoint, 2007 WL 1346616, at

*7.

               77.   As set forth above, the delay imposed by the requested relief

increases the risk that the Trustee will not be able to recover funds that were improperly

transferred from the Debtor. It has been alleged at least $17 million has gone missing

from the Debtor’s accounts, and proofs of claim continue to be filed in the Debtor’s case.

               78.   Accordingly, the Trustee respectfully requests that any stay be

conditioned upon Kossoff posting of a bond in favor of the Trustee in the amount of not

less than $17 million.



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                                      CONCLUSION

               For all the reasons set forth above, the Trustee respectfully requests that

the Motion be denied, and that the Court enter any other and further relief as is just and

appropriate.

Dated: New York, New York
       September 7, 2021
                                           ALBERT TOGUT,
                                           not individually but solely in his capacity as
                                           Chapter 7 Interim Trustee for
                                           Kossoff PLLC
                                           By His Counsel,
                                           TOGUT, SEGAL & SEGAL LLP
                                           By:

                                           /s/ Neil Berger
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